Case 2:17-bk-57425        Doc 29         Filed 01/30/18 Entered 01/31/18 10:43:37       Desc Main
                                         Document Page 1 of 1



This document has been electronically entered in the records of the United
States Bankruptcy Court for the Southern District of Ohio.


IT IS SO ORDERED.



Dated: January 30, 2018



________________________________________________________________


                          UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF OHIO
                           EASTERN DIVISION AT COLUMBUS


In the Matter of:                                            Case No. 17-57425
        BRIAN SOMICH                                         Judge C. Kathryn Preston
                                                             Chapter 13
Debtor.


     ORDER GRANTING DEBTOR’S MOTION TO IMPOSE AUTOMATIC STAY
                            (Doc. No. 19)

        This matter is before the Court on Debtor’s Motion to Impose the Automatic Stay, filed on
December 2, 2017, at Doc. No. 19. The reasons for Debtor’s Motion are more fully contained
therein.
        For good cause shown the Court and no objections being filed by any creditor or party in
interest, the Court hereby grants the Motion, and the Automatic Stay is hereby imposed, and
shall remain in place during the pendency of Debtor’s case or until further order of Court.
IT IS SO ORDERED.


Served Upon:
All creditors and parties in interest.
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